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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


SILAS MARTIN,              )
                           )
     Plaintiff,            )
                           )                CIVIL ACTION NO.
     v.                    )                  3:20cv630-MHT
                           )                       (WO)
MARY B. ROBERSON,          )
(Individually and official )
capacities),               )
                           )
     Defendant.            )

                             JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United       States       Magistrate         Judge's

recommendation (doc. no. 3) is adopted.

    (2) Plaintiff’s        motion    for   leave    to    proceed     in

forma pauperis (doc. no. 2) is denied.

    (3) This lawsuit is dismissed without prejudice for

failure to pay the full filing and administrative fees

upon initiation of the case.
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    (4) Plaintiff’s motion for preliminary injunction

(doc. no. 1) is denied as moot.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket    as   a   final    judgment

pursuant   to   Rule   58   of    the   Federal     Rules   of   Civil

Procedure.

    This case is closed.

    DONE, this the 19th day of October, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
